
215 P.3d 875 (2009)
229 Or. App. 714
STATE of Oregon, Plaintiff-Respondent,
v.
Chester Lawrence GUNTER, Jr., Defendant-Appellant.
CR0200095, A119373.
Court of Appeals of Oregon.
On Appellant's Petition for Reconsideration June 5, 2009.
Decided July 15, 2009.
Peter Gartlan, Chief Defender, and Rebecca Duncan, Assistant Chief Defender, Office of Public Defense Services, for petition.
Before LANDAU, Presiding Judge, and BREWER, Chief Judge, and HASELTON, Judge.
PER CURIAM.
Defendant requests reconsideration of this court's decision in State v. Gunter, 227 Or.App. 152, 205 P.3d 84 (2009). Defendant argues that, in our opinion affirming his convictions and sentences, we failed to address several arguments concerning sentencing that were made in defendant's opening brief on appeal. Defendant requests that we consider those arguments now. We have considered defendant's remaining arguments that the court erred in imposing sentence on defendant. A discussion of those arguments would be of no benefit to the bench, the bar, or the public. Accordingly, we modify our previous opinion to add that we reject defendant's previously unaddressed sentencing arguments without discussion.
Reconsideration allowed; former opinion modified and adhered to as modified.
